
GUIDRY, Judge.
The defendant, Wilson K. Savoy, Jr., pleaded nolo contendere to the charge of negligent homicide, a violation of LSA-R.S. 14:32. The trial court sentenced the defendant to five years at hard labor. The defendant has appealed the conviction and sentence.
The defendant filed no assignments of error pursuant to LSA-C.Cr.P. Art. 844. Therefore, the scope of appellate review in this case is limited to a review of the pleadings and proceedings, without inspection of the evidence, for errors patent. LSA-C. Cr.P. Art. 920; State v. Zeno, 322 So.2d 136 (La.1975). Accordingly, we have carefully examined the record in this case pursuant to the mandate of LSA-C.Cr.P. Art. 920, and finding no errors patent on the face of the record, we affirm the defendant’s conviction and the sentence imposed.
AFFIRMED.
